          Case 4:00-cr-40020-JPG                       Document 93            Filed 11/29/05              Page 1 of 4            Page ID #76

% A 0 245D      (Rev. 12103) Judgment in a Criminal Case for Revocations



                                        UNITEDSTATESDISTRICT
                                                           COURT
                              Southem                                 District of                                    Illinois

         UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                v.                                           (For Revocation of Probation or Supervised Release)
                    DON JOE SPENCE
                                                                             Case Number: 4:00CR40020-003-JPG
                                                                             USM Number: 05012-025
                                                                              Judith A. Kuenneke, FPD
                                                                                                                          %
                                                                                                                          '
                                                                                                                     *'p?.."o
                                                                             Defendant's Attorney
THE DEFENDANT:
@ admitted guilt to violation of condition(s) as alleged in Petition                           of the term of supervision.

     was found in violation of conditioo(s)                                                after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                     Nature of Violation                                                              Violation Ended
 Statutorv                            The defendant admitted that he used cocaine                                      911812005


 Special                              The defendant failed to wrnply with his home confinement                         9/16/2005


       The defendant is sentenced as provided in pages 2 through                    4      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
     The defendant has not violated condition@)                                         and is discharged as to such violation(s) condition.




Defendant's Sac. S e c No.:     XXX-XX-XXXX
Defendant's Date of Birth:      11/29/1960


Defendant's Residence Address:

 127 4th Street, No. 45, Unity, IL 62993
                                                                              J. Phil Gilbert, District Judge                   District Judge
                                                                             Name of Judge                                      Title of Judge

                                                                                                                                     C

                                                                                                     -A               ZNS
                                                                             Date                              I ,
Defendant's Mailing Address:

Same as above
            Case 4:00-cr-40020-JPG                      Document 93           Filed 11/29/05           Page 2 of 4      Page ID #77

 A 0 245D      (Rev. 12/03 Judgment in a Criminal Case far Revocations
               Sheet 2- Imprisonment

iDEFENDANT: DON JOE SPENCE
 CASENIJMBER: 4:00CR40020-003-JPG


                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of :
12 months




            The court makes the following recommendations to the Bureau of Prisons:




            The defendant is remanded to the custody of the United States Marshal

       0 The defendant shall surrender to the United States Marshal for this district:
         0 at                             0 a.m. 0 p.m. on
                 as notified by the United States Marshal.

            The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                 before 2 p.m. on
                 as notified by the United States Marshal.
                 as notified by the Probation or Pretrial Services Office.

                                                                         RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                         to

  at                                                     with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                            BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
           Case 4:00-cr-40020-JPG                      Document 93        Filed 11/29/05          Page 3 of 4           Page ID #78

A 0 245D     (Rev. 12/03) Judgment in a Criminal Case for Revocations



DEFENDANT: DON JOE SPENCE
                                                                                                        Judgment-Page   3of                 4

CASE NUhfBER: 4:00CR40020-003-JPG
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
12 months



         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release fro
the custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall su%mit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determmed by the court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
@ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
@ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)
       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this 'udgment imposes a f n e or restitution, it is be a condition of supervised release that the defendant pay in accordance with
the Schedule ofl~aynentssheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditi
on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days o
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or othe
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
     controlled substance or any pdrdphrrnalla related to any controlled substances, except as prescr~bedby a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with an) persons engaged in criminal activity and shall not associate with any person convicted o
        a ielnny, unless ranted perm~ssionto do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of an
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement office
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without th
        permission of the court; and
 13)    as directed by the robation officer, the defendant shall notify ,third parties of risks that may be occasioned by the defendant's c r a m
                            P
        record or persona .history or charactenstics and shall permd the probation officer to make such notifications and to confum th
        defendant s compliance with such not~ficat~on   requuement.
           Case 4:00-cr-40020-JPG                    Document 93      Filed 11/29/05   Page 4 of 4         Page ID #79

A 0 245D    (Rev. IU03) Judgment in a Criminal Case for Revocations
            Sheet 3C - Supervised Release

DEFENDANT: DON JOE SPENCE
                                                                                           Judgment-Page   4 of            4
CASE NUh4BER: 4:00CR40020-003-JPG

                                         SPECIAL CONDITIONS OF SUPERVISION
  The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
dpendence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
costs of counseling.
